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                                            August 16, 2019



The Honorable Mitchell S. Goldberg
United States District Court
 Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106-1797

         Re:      Amgen Inc. v. Accord Healthcare, Inc.
                  C.A. No. 18-956 (MSG)
Dear Judge Goldberg:

       The parties have not been able to resolve their discovery disputes after the July 23
discovery telephone conference. Counsel will be before Your Honor on Monday afternoon,
August 19, for a Markman hearing. The parties request the opportunity to discuss the remaining
discovery issues with Your Honor on Monday afternoon, if there is time to do so.

                                                 Respectfully,

                                                 /s/ Jack B. Blumenfeld

                                                 Jack B. Blumenfeld (#1014)

JBB/bac

cc       All Counsel of Record (via electronic mail)
